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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     WELLS FARGO BANK, N.A.,                          Case No. 23-cv-06135-AMO
                                                       Plaintiff,
                                   8
                                                                                          REFERRAL FOR PURPOSE OF
                                                 v.                                       DETERMINING RELATIONSHIP
                                   9

                                  10     RUSSELL A ROBINSON, et al.,                      Re: Dkt. No. 8
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED, to the

                                  14   Honorable Jacqueline Scott Corley for consideration of whether the case is related to 23-cv-3090-

                                  15   JSC.

                                  16          IT IS SO ORDERED.

                                  17   Dated: December 19, 2023

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                                                                                      Araceli Martínez-Olguín
                                  19                                                  United States District Judge
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